   Case 1:23-cv-00085-JRH-BKE Document 18 Filed 03/22/24 Page 1 of 26




            IN THE UNITED STATES DISTRICT COURT FOR THE
                     SOUTHERN DISTRICT OF GEORGIA
                               AUGUSTA DIVISION


CATHERINE NIPPER,

      Plaintiff,                        *
                                        *


                                        *            CV 123-085
                                        *
            V.
                                        ★


PROGRESSIVE MOUNTAIN                    *
INSURANCE COMPANY and HEATH             *
JOHNSTON,                               *
                                        *


      Defendants.                       *




                                  ORDER




     Before the Court is Defendants' motion to dismiss {Doc. 7),

which the Court converted into a motion for summary judgment on

February 2, 2024 (Doc. 14).       For the following reasons. Defendants'

motion is GRANTED.




                                I. BACKGROUND


     The   Court   summarizes     the   insurance   policy   at   issue,   the

relevant facts, and the procedural history of the case thus far

below.


A. The Policy

     Plaintiff     owned   a    1999    Honda   Accord   with     VIN   number


1HGCG6656XA128683 (the ^^Vehicle") that was insured by Defendant

Progressive Mountain Insurance Company's (^^Progressive") policy
    Case 1:23-cv-00085-JRH-BKE Document 18 Filed 03/22/24 Page 2 of 26




number 912426829 (the ^^Policy").      (Doc. 1-1, at 3; Doc. 17, at 2;

Doc. 7-1, at 3; Doc. 7-2, at 2.)            The Policy was made out to

Plaintiff and lists her address.       (Doc. 7-2, at 2.)       The Policy's

''Drivers   and   resident   relatives"     section    lists   two     people:

Plaintiff and her daughter, lesha Nipper.         (Id.)    The information

concerning Plaintiff is separated from the information concerning

lesha Nipper by a gray dotted line.             (Id.)      The information

pertaining to Plaintiff is as follows: (1) she was fifty-four years

old; (2) she is a female; and (3) she was single.              (Id.)     lesha

Nipper's portion indicates she was: (1) twenty-seven years old;

(2) a female; and (3) single.       (Id.)     Plaintiff's portion of the

"Drivers and resident relatives" section also includes a line that

says: "Additional information: Named insured."             (Id.)     Although

lesha Nipper's name appears below this line, lesha Nipper's portion

of the "Drivers and resident relatives" section does not include

a line indicating she is also a named insured.            (Id.)

     The    Policy's   agreement   provides    that,    if "you" pay       the

premium. Progressive will insure "you" for the coverages and limits

of liability shown on the declarations page.          (Id. at 8.)    Relevant

here, the Policy defines "you" as "a person shown as a named

insured on the declarations page."          (Id. at 9.)     The Parties do

not dispute Plaintiff paid the premium for the coverages indicated

on the declarations page.     (See Doc. 1-1, at 2; Doc. 17, at 3; see

also Docs. 7-1, 8, 10.)      The Policy shows Plaintiff had two kinds
     Case 1:23-cv-00085-JRH-BKE Document 18 Filed 03/22/24 Page 3 of 26



of coverage for the Vehicle: (1) Liability to Others (^^Part I")

and (2) Uninsured Motorist Coverage (''Part III").                    (Doc. 1-2, at

3, 10-14, 17-21.)          Both Part I and Part III have policy limits of

$25,000 per person and $50,000 per accident.                 (Id. at 3.)

       Part I's insuring agreement provides: "If you pay the premium

for this coverage, we will pay damages for bodily injury and

property   damage     for     which   an   insured      person   becomes legally

responsible because of an accident."                (Id. at 10.)        As used in

Part I, "insured           person" means "you, a relative, or a rated

resident with respect to an accident arising out of the ownership,

maintenance or use of an auto or a trailer."                 (Id. at 10.)     "You"

is   defined     as   "a    person    shown   as    a    named   insured    on   the

declarations      page."       (Id.   at   9.) "Relative" means "a           person

residing in the same household as you, and related to you by

blood."    (Id. at 8.)         "Rated resident" is "a person residing in

the same household as you at the time of the loss who is not a

relative."       (Id.)     Part I also provides that coverage under the

provision, including Progressive's duty to defend, "will not apply

to any insured person for: . . . bodily injury to you."                     (Id. at

11.)

       Part III provides:

       If you pay the premium for this coverage, we will pay
       for damages that an insured person is legally entitled
       to recover from the owner or operator of an uninsured
       motor   vehicle      because   of   bodily       injury   or   property
       damage:
      Case 1:23-cv-00085-JRH-BKE Document 18 Filed 03/22/24 Page 4 of 26




       1. sustained by an insured person;
       2. caused by an accident; and
       3. arising out of the ownership, maintenance or use of
       an uninsured motor vehicle.


(Id. at 17.)      Part III also defines ''insured person" as "you, a

relative, or a rated resident." (Id.) Part III defines "uninsured

motor vehicle" as "a land motor vehicle or trailer of any type:

. . . to which a bodily injury liability bond or policy applies at

the time of the accident, but the bonding or insuring company . . .

legally denies coverage."        (Id. at 18.)        However, it provides an

"uninsured motor      vehicle" does not include a           vehicle "owned by

you, a relative, or a rated resident."              (Id.)

B. Factual Background

       On June 16, 2018, Plaintiff and lesha Nipper were involved in

a   car   accident   (the "Accident")        that   resulted   in   significant

injuries to Plaintiff.       (Doc. 1-1, at 3; Doc. 17, at 2.)           On July

7, 2020, Plaintiff filed a lawsuit against lesha Nipper in the

Superior Court of Richmond County, Georgia to recover for her

injuries, alleging lesha Nipper, who was driving the Vehicle at

the    time,   negligently    caused       the   Accident   (the    "Underlying

Lawsuit").      (Doc. 1-1, at 3, 5; Doc. 17, at 2.)            On December 7,

2021, Plaintiff sent a letter to Defendant Heath Johnston ("Mr.

Johnston"), the insurance adjuster assigned to Plaintiff's claim,

offering to settle her claim in the Underlying Lawsuit for $25,000.

(Doc. 1-1, at 12-13.)         Progressive did not make the settlement



                                       4
      Case 1:23-cv-00085-JRH-BKE Document 18 Filed 03/22/24 Page 5 of 26




payment.       {Doc. 1-1, at 3; Doc. 17, at 4.)           Progressive did not

defend lesha Nipper in the Underlying Lawsuit, and lesha Nipper

did not defend herself.         (Doc. 1-1, at 5; Doc. 17, at 5.)            As a

result, on June 23, 2022, Plaintiff obtained a default judgment

for $250,000 against lesha Nipper.            (Doc. 1-1, at 5; Doc. 17, at

5.)      On June 28, 2022, lesha Nipper assigned to Plaintiff any

right she had against Progressive for exposing her to an excess

judgment.       (Doc. 1-1, at 5.)

C. Procedural History

       On May 16, 2023, Plaintiff filed this action in the Superior

Court     of     Richmond    County,      asserting     claims    against   both

Progressive and Mr. Johnston for breach of contract and negligent

failure to settle.           (Doc. 1-1, at 1, 4-8.)         Plaintiff alleges

Defendants breached the Policy when they did not properly and

timely adjust and resolve Plaintiff's valid claim in the Underlying

Lawsuit.       (Id. at 6.)   Plaintiff further contends Defendants acted

negligently or in bad faith when they failed to settle the claim

within the Policy's limits.            (Id. at 6-7.)      Plaintiff also seeks

punitive damages and attorney's fees.            (Id. at 12.)

        On June 30, 2023, Defendants removed, asserting the Court has

subject-matter jurisdiction under 28 U.S.C. § 1332.                   (Doc. 1, at

1.)    Defendants contend Mr. Johnston was fraudulently joined solely

to    defeat    diversity,    and   his   citizenship    should   therefore    be

disregarded for jurisdictional purposes.              (Id. at 2-3.)    Defendants
    Case 1:23-cv-00085-JRH-BKE Document 18 Filed 03/22/24 Page 6 of 26




moved to dismiss on July 28, 2023, and they attached to their

motion email communications between Plaintiff's counsel and Mr.

Johnston.   (Docs. 7, 7-3.)      Plaintiff responded, and Defendants

replied in support. (Docs. 8, 10.) After considering the Parties'

arguments, the Court concluded it would be most efficient to

consider the attached email correspondence, and any other relevant

evidence outside the pleadings, because the motion to dismiss

''turn[ed] on the relatively discrete issue of whether lesha Nipper

resided with Plaintiff at the time of the [A]ccident."          (Doc. 14,

at 5.)    The Court thus converted Defendants' motion to dismiss

into a motion for summary judgment.        (Id.)   Plaintiff was granted

twenty-one days to conduct limited discovery and file any briefing

and additional evidence, and Defendants were granted fourteen days

thereafter to respond.     (Id. at 5-6.)    Plaintiff's deadline ran on

February 23, 2024.     (Id.; Doc. 15.)      Plaintiff did not file any

additional briefing or evidence.




                           II. LEGAL STANDARD


     Under Federal Rule of Civil Procedure 56, a motion for summary

judgment is granted ^'if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to

judgment as a matter of law."      Fed. R. Civ. P. 56(a).    ''^An issue of

fact is   ^material' if . . . it might affect the outcome of the

case . . . [and it] is ^genuine' if the record taken as a whole
   Case 1:23-cv-00085-JRH-BKE Document 18 Filed 03/22/24 Page 7 of 26



could lead a rational trier of fact to find for the nonmoving

party."   Hickson Corp. v. N. Crossarm Co., 357 F.3d 1256, 1259-60

(11th Cir. 2004) (citations omitted).           The Court must view factual

disputes in the light most favorable to the non-moving party,

Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,

587 (1986), and must draw "all justifiable inferences in [the non-

moving party's] favor."        United States v. Four Parcels of Real

Prop., 941 F.2d 1428, 1437 (11th Cir. 1991) (en banc) (internal

punctuation and citations omitted).           The Court should not weigh

the evidence or determine credibility.           Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 255 (1986).       However, the nonmoving party "must

do more than simply show that there is some metaphysical doubt as

to the material facts."        Matsushita, 475 U.S. at 586 (citations

omitted).   A mere "scintilla" of evidence, or simply conclusory

allegations, will not suffice.        See e.g., Tidwell v. Carter Prods.,

135 F.3d 1422, 1425 (11th Cir. 1998).

     Defendants   do    not   bear   the   burden   of   proof at trial and

therefore may "satisfy [their] initial burden on summary judgment

in either of two ways."        McQueen v. Wells Farqo Home Mortg., 955

F. Supp. 2d 1256, 1262 (N.D. Ala. 2013) (citing Fitzpatrick v.

City of Atlanta, 2 F.3d 1112, 1115-16 (11th Cir. 1993)).             First,

they "may simply show that there is an absence of evidence to

support [Plaintiff's] case on the particular issue at hand."               Id.

(citation   omitted).     If this     occurs.    Plaintiff "must   rebut    by
      Case 1:23-cv-00085-JRH-BKE Document 18 Filed 03/22/24 Page 8 of 26




either (1) showing that the record in fact contains supporting

evidence sufficient to withstand a directed verdict motion, or (2)

proffering evidence sufficient to withstand a directed verdict

motion at trial based on the alleged evidentiary deficiency."                       Id.

(citation       omitted).         Or     second,      Defendants      may     ^'provide

affirmative evidence demonstrating that [Plaintiff] will be unable

to prove [her] case at trial." Id. (citation omitted and emphasis

in original).

         Parties may not, by the simple expedient of dumping a mass

of evidentiary material into the record, shift to the Court the

burden     of    identifying      evidence      supporting         their    respective

positions."       Preis v. Lexington Ins., 508 F. Supp. 2d 1061, 1068

(S.D. Ala. 2007).         Essentially, the Court has no duty ^^to distill

every    potential       argument      that   could    be   made    based    upon   the

materials before it on summary judgment."                   Id. (citing Resol. Tr.

Corp.    V.     Dunmar   Corp.,     43   F.3d   587,   599    (11th    Cir.    1995)).

Accordingly, the Court will only review the materials the Parties

specifically cite and legal arguments they expressly advance.                       See

id.


        In this action, the Clerk provided Plaintiff notice of the

summary judgment motion, the right to file affidavits or other

materials in opposition, and the consequences of default.                        (Doc.

15.)     For that reason, the notice requirements of Griffith v.

Wainwright, 772 F.2d 822, 825 (11th Cir. 1985) (per curiam), are
      Case 1:23-cv-00085-JRH-BKE Document 18 Filed 03/22/24 Page 9 of 26




satisfied.      The time for filing materials has expired, the issues

have been thoroughly briefed, and the motion is now ripe for

consideration.          In    reaching      its    conclusions,      the      Court     has

evaluated      the     Parties'    briefs,        other    submissions,           and   the

evidentiary record in this case.




                                  III. DISCUSSION


       Plaintiff      asserts     two       substantive     claims       against        both

Defendants: (1) breach of contract, and (2) bad faith failure to

settle.      (Doc. 1-1, at 4-6.)        Plaintiff also seeks punitive damages

and attorney's fees and expenses of litigation under Georgia law.

(Id. at 6-7.)        The Court first addresses Plaintiff's claims against

Mr.     Johnston,      then     turns       to     Plaintiff's      claims         against

Progressive.

A. Claims Against Mr. Johnston

       Defendants removed this action to this Court under 28 U.S.C.

§§ 1332, 1441, and 1446.           (Doc. 1, at 1; Doc. 16, at 1.)                  Actions

initially filed in a state court may be removed to federal court

in    two   circumstances:      (1)   where       the   claim    presents     a    federal

question or (2) where diversity jurisdiction exists.                        28 U.S.C. §

1441(a)-(b).         Federal courts, as courts of limited jurisdiction,

must remand a case removed on diversity grounds where there is not

complete diversity of citizenship between the parties or where one

of    the   named   defendants is       a   citizen     of the   state   in   which      the
      Case 1:23-cv-00085-JRH-BKE Document 18 Filed 03/22/24 Page 10 of 26




suit is filed.        28 U.S.C. § 1441(b).        An individual's citizenship

is equivalent to ^Momicile" for 28 U.S.C. § 1332 purposes, ^Ma]nd

domicile requires both residence in a state and ^an intention to

remain there indefinitely.'"             Travaglio v. Am. Express Co., 735

F.3d 1266, 1269 (11th Cir. 2013) (quoting McCormick v. Aderholt,

293    F.3d   1254,    1258   (11th     Cir.   2002)).     On   the   other    hand,

corporations — like Progressive — are citizens of (1) every state

in    which they are incorporated and (2) the state where their

principal place of business is located.               28 U.S.C. § 1332(c)(1).

Defendants' amended notice of removal provides: (1) Plaintiff is

a Georgia citizen; (2) Progressive is an Ohio citizen; and (3) Mr.

Johnston is a         Georgia   citizen.        (Doc. 16, at 2.)         Although

Defendants' amended notice of removal represents Plaintiff and Mr.

Johnston      are     both    Georgia     citizens.      Defendants    argue     Mr.

Johnston's citizenship should be disregarded because Plaintiff

fraudulently joined him.          (Id. at 2-3.)

        Courts may retain jurisdiction and ''ignore the presence of

[a] non-diverse defendant" when the plaintiff fraudulently joined

that defendant solely to defeat federal diversity jurisdiction.

Stillwell V. Allstate Ins., 663 F.3d 1329, 1332 (11th Cir. 2011)

(citation      omitted).        To    establish    fraudulent     joinder,     "the

removing party has the burden of proving by clear and convincing

evidence that either: (1) there is no possibility the plaintiff

can establish a cause of action against the resident defendant; or


                                          10
   Case 1:23-cv-00085-JRH-BKE Document 18 Filed 03/22/24 Page 11 of 26




(2) the plaintiff has fraudulently pled jurisdictional facts to

bring the resident defendant into state court."          Id. (alterations

adopted) (quoting Crowe v. Coleman, 113 F.3d 1536, 1538 (11th Cir.

1997)).    ''The federal court makes these determinations based on

the plaintiff's pleadings at the time of removal; but the court

may consider affidavits and deposition transcripts submitted by

the parties."      Crowe, 113 F.3d at 1538 (citation omitted).           In

making this determination, "federal courts are not to weigh the

merits of a plaintiff's claim beyond determining whether it is an

arguable one under state law."       Id. (citation omitted).         Indeed,

"[i]f there is even a possibility that a state court would find

that the complaint states a cause of action against any one of the

resident defendants, the federal court must find that the joinder

was proper and remand the case to the state court." Coker v. Amoco

Oil Co., 709 F.2d 1433, 1440-41 (11th Cir. 1983), superseded by

statute on other grounds as stated in Stillwell, 663 F.3d at 1334-

35 (finding that the district court erred in concluding defendant

was fraudulently joined      because "at the     very least, [it was]

possible    that   a   Georgia   state   court   would    conclude     that"

plaintiff's complaint stated a cause of action against defendant

given Georgia's notice pleading standards).

     The Court finds Defendants carried their burden of proving

there is no possibility Plaintiff can establish a cause of action

against Mr. Johnston.      See Stillwell, 663 F.3d at 1332 (citation

                                    11
      Case 1:23-cv-00085-JRH-BKE Document 18 Filed 03/22/24 Page 12 of 26




omitted).        Plaintiff brings a breach of contract claim and a bad

faith failure to settle claim against Mr. Johnston — the insurance

adjuster — both of which arise from Progressive's alleged failure

to    handle     and     settle    lesha    Nipper's         claim    in    the     Underlying

Lawsuit.        (Doc. 1-1, at 4-6, 12; Doc. 16, at 2.)                             However, in

Georgia, an insurance adjuster is not liable to the insured for

the insurer's failure to settle a claim because the insured and

the insurance adjuster, unlike the insured and the insurer, are

not in privity of contract.                See Dumas v. ACCC Ins., 349 F. App'x

489, 491-92 (11th Cir. 2009) (citations omitted) (''In the absence

of privity of contract, an insurance adjuster is not liable to an

insured for a failure to settle claim against an insured").

        Defendants       argue     no   cause      of    action      exists       against      Mr.

Johnston        as   a   matter    of   law     and     he   should        be    dismissed      as


fraudulently         joined.       (Doc.      7-1,      at   7.)      Plaintiff         concedes

Defendants' grounds for dismissing Mr.                        Johnston are valid and

agrees the claims against him should be dismissed.                                 (Doc. 8, at

1.)       For    these     reasons,     summary         judgment      is    GRISTED       as    to

Plaintiff's claims against Mr. Johnston.                       Because the Court finds

Mr.     Johnston         was   fraudulently           joined,        the        Court    retains

jurisdiction over this case.                   See Stillwell, 663 F.3d at 1332

(citation       omitted).         The Court now         turns to Plaintiff's claims

against Progressive.




                                              12
   Case 1:23-cv-00085-JRH-BKE Document 18 Filed 03/22/24 Page 13 of 26




B. Claims Against Progressive

     The    Court      addresses    each     of   Plaintiff s          claims   against

Progressive in turn.

     1. Breach of Contract


     Plaintiff, as lesha Nipper's assignee, asserts a breach of

contract claim against Progressive, alleging Progressive breached

the Policy by failing to properly and timely adjust and resolve a

valid pending claim.         (Doc. 1-1, at 6.)            According to Plaintiff,

the fact that lesha Nipper's name appears below the line that says

 Additional       information:      Named    insured"      in    the     ^^Drivers   and

resident relatives" section of the Policy creates an ambiguity as

to whether lesha Nipper was a named insured.                 (Id. at 4.)        Because

ambiguities in insurance contracts are construed in favor of the

insured. Plaintiff argues Progressive breached the Policy by not

providing       coverage   for    lesha     Nipper   or    defending      her   in   the

Underlying Lawsuit.         (Id. at 3-5; Doc. 8, at 4.)                    Progressive

contends it did not breach the Policy by failing to defend lesha

Nipper     in    the   Underlying    Lawsuit      because        the    Named   Insured

Exclusion in Part I (the ''Exclusion") bars coverage for Plaintiff's

claim.     (Doc. 7-1, at 7-11.)           The Court agrees with Progressive.

     Under      Georgia    law,    the    construction      of    a    contract "is    a

question of law for the court."              Am. Empire Surplus Lines Ins, v.

Hathaway Dev. Co., 707 S.E.2d 369, 371 (Ga. 2011).                       Insurance "is

a matter of contract and the parties to the contract of insurance


                                           13
   Case 1:23-cv-00085-JRH-BKE Document 18 Filed 03/22/24 Page 14 of 26




are bound by its plain and unambiguous terms."            Hurst v. Grange

Mut. Cas. Co., 470 S.E.2d 659, 663 (Ga. 1996). ''Words used in the

policy are given their usual and common meaning, and the policy

should be read as a layman would read it and not as it might be

analyzed by an insurance expert or an attorney."          Liberty Surplus

Ins. V. Norfolk S. Ry. Co., 684 F. App'x 788, 790 (11th Cir. 2017)

(quoting Ga. Farm Bureau Mut. Ins, v. Smith, 784 S.E.2d 422, 424

(Ga. 2016)).   An insurance company is permitted to "fix the terms

of its policies as it sees fit, so long as they are not contrary

to the law," and it is free "to insure against certain risks while

excluding others."    Smith, 784 S.E.2d at 424.

     Consistent    with    the    general     rule   governing   contract

interpretation,    construction    of    an   insurance   contract   is   a

question of law.   Elan Pharm. Rsch. Corp. v. Emps. Ins, of Wausau,

144 F.Sd 1372, 1375 (11th Cir. 1998) (applying Georgia law).         Under

Georgia law, an insurer's refusal to defend is justified only if

the complaint "does not assert any claims upon which there would

be insurance coverage."     City of Atlanta v. St. Paul Fire & Marine

Ins., 498 S.E.2d 782, 784 (Ga. Ct. App. 1998).       As with the general

interpretation of insurance contracts, any doubt as to an insurer's

duty to defend "should be resolved in favor of the insured."

Claussen v. Aetna Cas. & Surety Co., 380 S.E.2d 686, 678-88 (Ga.

1989); Penn-Am. Ins, v. Disabled Am. Veterans, Inc., 490 S.E.2d

374, 376 (Ga. 1997).      To succeed on summary judgment that it has


                                    14
   Case 1:23-cv-00085-JRH-BKE Document 18 Filed 03/22/24 Page 15 of 26




no duty to defend. Progressive must show the terms of the Policy

^'unambiguously exclude coverage."          BBL-McCarthy, LLC v. Baldwin

Paving Co., 646 S.E.2d 682, 685 (Ga. Ct. App. 2007).

     Under Georgia's contract construction methodology, the first

question    is   whether   the   terms     contained   in   the   Policy   are

unambiguous. City of Baldwin v. Woodard & Curran, Inc., 743 S.E.2d

381, 389 (Ga. 2013) (citation omitted).           "Where the contractual

language is explicit and unambiguous, 'the court's job is simply

to apply the terms of the contract as written, regardless of

whether doing so benefits the carrier or the insured.'"              Jones v.

Golden Rule Ins., 748 F. App'x 861, 864 (11th Cir. 2018) (quoting

Smith, 784 S.E.2d at 424).         In determining whether the relevant

terms are    unambiguous, the Court looks to the             Policy's text.

Smith, 784 S.E.2d at 424.

            a. Coverage Under Part I

     Part I of the Policy provides "[i]f you pay the premium for

this coverage, we will pay damages for bodily injury and property

damage for which an insured person becomes legally responsible

because of an accident."         (Doc. 7-2, at 10.)     Coverage, however,

under the Exclusion, "will not apply to any insured person for:

. . . bodily injury to you."         (Id. at 11.) "You" means "a person

shown as a named insured on the declarations page."               (Id. at 9.)




                                      15
   Case 1:23-cv-00085-JRH-BKE Document 18 Filed 03/22/24 Page 16 of 26



The declarations page provides Plaintiff is a named insured.                       (Id.

at 2.)

       Progressive argues it did not have a duty to defend lesha

Nipper    in    the      Underlying      Lawsuit   because   the    Exclusion      bars

coverage.      (Doc. 7-1, at 7-8; Doc. 10, at 5.)               Plaintiff contends

Progressive failed to properly adjust and resolve a valid claim

and that the exclusions are void.                (Doc. 8, at 3,5.)      There is no

dispute      that     the    Underlying      Lawsuit   sought      to   recover     for

Plaintiff's bodily injuries allegedly caused by lesha Nipper's

negligence.      (Doc. 1-1, at 2; Doc. 17, at 2.)            The Court finds the

language of the Exclusion is unambiguous and excludes coverage for

Plaintiff's,        as    the    named    insured's,   bodily      injuries   in    the

Underlying Lawsuit.             (Doc. 7-2, at 11.)     Thus, the Court concludes

Progressive had no duty to defend lesha Nipper in the Underlying

Lawsuit because it was brought by Plaintiff, a named insured, to

recover damages for her own bodily injuries.                  (Id.; Doc. 1-1, at

2, 3, 5.)

       Plaintiff argues, however, that the Exclusion is void and

should not apply because its application would violate Georgia

public policy.           (Doc. 8, at 5.)      Defendant contends the Exclusion

does   not     violate      public policy ^^because      lesha     Nipper does      not

qualify as a relative insured under the Policy, but is instead

only a permissive driver."               (Doc. 7-1, at 8.)      Both Plaintiff and

Defendants point to Landrum v. Infinity Safeguard Ins., 734 S.E.2d


                                            16
   Case 1:23-cv-00085-JRH-BKE Document 18 Filed 03/22/24 Page 17 of 26




520 (Ga. Ct. App. 2012), in their analyses of whether the Exclusion

violates public policy.      (Doc. 8, at 5; Doc. 7-1, at 8-9.)

     In Landrum, the named insured was a passenger in a car she

owned, which was being driven by her grandson when he caused a

accident.     734 S.E.2d at 521.       At the time of the accident, the

grandson resided with the named insured, had no other vehicle, and

did not have his own insurance.             Id.   The named insured filed a

lawsuit     against   her   grandson        seeking   damages   for   injuries

resulting from the accident and sought coverage under her insurance

policy.     Id.   Her insurance policy contained a similar exclusion

to the one here, and her insurer filed a decaratory judgment action

seeking clarification on its obligations and arguing the exclusion

applied.    Id.   The insured and her grandson contended the exclusion

violated public policy because her grandson would be left with

unfair exposure to liability.          Id.        In analyzing the insurer's

duties, the Landrum court stated, ''the [Georgia] Supreme Court has

recognized that a policy exclusion should be voided to protect

either an innocent victim or an insured facing unfair exposure to

unanticipated liability."       Id. at 523 (citing Stepho v. Allstate

Ins., 383 S.E.2d 887, 888 (Ga. 1989)).            It also recognized a named

insured "is presumed to have       knowledge of the contents of her

policy, and she therefore cannot void the policy exclusion on the

ground that she is an innocent member of the motoring public."

Id. (citing S. Guar. Ins, v. Preferred Risk Mut. Ins., 359 S.E.2d


                                       17
   Case 1:23-cv-00085-JRH-BKE Document 18 Filed 03/22/24 Page 18 of 26




665 (Ga. 1987); Spivey v. Safeway Ins./ 437 S.E.2d 641 (Ga. Ct.

App. 1993)).    The Landrum court found that the grandson was not a

''relative" under the policy, and was thus just a "mere permissive

driver."   Id. at 522.   It found that in Georgia, there is "a bright

line rule against voiding a policy exclusion for permissive users."

Id. at 523 (citations omitted).           Because the named insured was

presumed to be aware of the contents of her policy and that her

grandson, as a permissive driver, was excluded, she was not an

innocent member of the motoring public nor did she have unfair

exposure to unanticipated liability.         Id.    For these reasons, the

Landrum court affirmed the trial court's grant of summary judgment

to the insurer, finding the exclusion was not void under public

policy and it was applicable to the grandson.           Id.

     Accordingly, the only way for the Exclusion to be voided as

against public policy is if applying it would unfairly expose an

insured person, as innocent victim of the motoring public, to

unanticipated   liability.     See    id.   (citation    omitted).   Here,

Plaintiff, as the named insured, is presumed to be aware of the

contents of the Policy, including the Exclusion, and she "therefore

cannot void the policy exclusion on the ground that she is an

innocent member of the motoring public."           Id. (citations omitted).

The analysis, however, does not end there.              Id.   To determine

whether applying the Exclusion would violate Georgia public policy

or would expose Plaintiff to unanticipated liability, the Court


                                     18
      Case 1:23-cv-00085-JRH-BKE Document 18 Filed 03/22/24 Page 19 of 26



must also determine whether lesha Nipper is insured under the

Policy or is merely a permissive driver.              Id.      Here, the Policy

defines ''insured person" as "you, a relative, or a rated resident

with     respect   to    an   accident    arising   out   of    the    ownership,

maintenance or use of an auto or a trailer."              (Doc. 7-2, at 10.)

       As an initial matter, the Court finds lesha Nipper does not

qualify as an "insured person" under the Policy's definition of

"you."     The Policy's declarations page lists two names under the

section titled "Drivers and resident relatives": Plaintiff's and

lesha Nipper's.         (Id. at 2.)   Each section within the "Drivers and

resident relatives" is separated by a gray dotted line.                     (Id.)

Each     section includes demographic information, but Plaintiff's

section     also   includes    the    following:    "Additional       Information:

Named Insured." (Id.) Plaintiff argues the additional information

in her part of the "Drivers and resident relatives" section creates

an ambiguity as to whether lesha Nipper is a named insured because

lesha Nipper's name appears under the line that says "Additional

Information: Named Insured."             (Doc. 1-1, at 2-3; Doc. 8, at 4.)

Plaintiff further argues the ambiguity is compounded by the fact

that "named insured" is not defined in the Policy.                    (Doc. 8, at

5.)       Defendants contend there is no ambiguity and that "lesha

Nipper is not a named insured, but rather a named driver."                   (Doc.

10, at 3.)




                                         19
   Case 1:23-cv-00085-JRH-BKE Document 18 Filed 03/22/24 Page 20 of 26




       The    Court    finds   the    Policy      unambiguously        provides    that

Plaintiff, not lesha Nipper, is the named insured.                       Plaintiff's

information and lesha Nipper's information are clearly separated

by a gray dotted line, and the ''Additional information: Named

insured" line falls only in Plaintiff's portion of the "Drivers

and resident relatives" section.                  {Doc. 7-2, at 2.)          The Court

agrees       with   Progressive      that    "the    Policy's     otherwise        clear

reference to [Plaintiff] as the                  named insured is       not rendered

ambiguous by the simple fact that another driver is listed on the

declarations page of the Policy."                (Doc. 10, at 3 (citing Ga. Farm

Bureau Mut. Ins, v. Wilkerson, 549 S.E.2d 740, 742 (Ga. Ct. App.

2001); Griffin v. State Farm Mut. Auto. Ins., 199 S.E.2d 101, 104

(Ga. Ct. App. 1973)).)         Furthermore, the Policy was issued solely

to Plaintiff at her address.                (Doc. 7-2, at 2.)          To the extent

Plaintiff argues the Policy is ambiguous because it does not define

"named insured," the Georgia Court of Appeals has held a policy

need    not    define    "named   insured,"         and   a   policy    is   not    made

amibiguous simply because it does not contain such a definition.

Wilkerson, 549 S.E.2d at 742.               For these reasons, the Court finds

the Policy unambiguous: lesha Nipper is not a named insured under

the Policy.         Accordingly, lesha Nipper does not meet the Policy's

definition of "you."

       lesha Nipper may still be covered under the definition of

"insured person" in Part I if she is either a "relative" or "rated


                                            20
   Case 1:23-cv-00085-JRH-BKE Document 18 Filed 03/22/24 Page 21 of 26



resident" as defined in the Policy.                  (Id. at 10.)       lesha Nipper

can only be a "relative" or a "rated resident" if she resided in

the same household as Plaintiff.             (See id.)      Defendant argues lesha

Nipper       cannot   meet these     definitions          because the    evidentiary

record shows lesha Nipper did not live with Plaintiff at the time

of the Accident.         (Doc. 7-1, at 10-11; Doc. 10, at 4-5.)

       To determine whether a person lived in the same household as

the insured, Georgia courts consider "the aggregate details of the

family's living arrangements" and "whether the family members have

established         and maintained separate          households under different

managements" is of critical importance.                     Burdick v. GEICO, 626

S.E.2d 587, 589 (Ga. Ct. App. 2006) (citation omitted).                    Here, the

Policy       lists     Plaintiff's    address        as    2622   Castletown    Dr.,

Hephzibah, GA 30815.            (Doc. 7-2, at 2.)          Plaintiff's counsel, in

an email to Mr. Johnston, stated lesha Nipper did not meet the

Policy's definition of "relative" because she "was living at 2430

Nordahl Cr.[,] Augusta, G[A] at the time of [the Accident]. (Doc.

7-3, at 2.)         While Plaintiff alleges lesha Nipper resided with her

at the time of the Accident, there is no evidence indicating the

same.    (Doc. 8, at 4.)

        At    the     summary    judgment        stage.    Plaintiff    "must   rebut

[Defendants' evidence] by either (1) showing that the record in

fact    contains       supporting    evidence       sufficient    to    withstand   a

directed verdict motion, or (2) proffering evidence sufficient to


                                            21
   Case 1:23-cv-00085-JRH-BKE Document 18 Filed 03/22/24 Page 22 of 26




withstand a directed verdict motion at trial based on the alleged

evidentiary    deficiency."     McQueen,   955   F.   Supp.    2d   at   1262

(citation omitted).    Plaintiff's conclusory arguments do not meet

this burden.    Thus, the Court finds there is no genuine dispute

that lesha Nipper did not reside in the same household as Plaintiff

at the time of the Accident, and lesha Nipper is not a ^^relative"

or ^^rated resident" under the Policy.       (Doc. 7-2, at 9.)           Since

lesha Nipper does not meet the Policy's definitions of "you,"

"relative," or "rated resident," she is not an "insured person" as

defined in Part I and was therefore, at best, a permissive driver

at the time of the Accident.      (Id. at 10.)

       Accordingly, the Court finds the Exclusion does not violate

Georgia's public policy against an insured person facing unfair

exposure to unanticipated liability.        See Landrum, 734 S.E.2d at

523.     Based on these findings, the Court finds the Exclusion

applies and bars coverage under Part I.

           b. Coverage Under Part III

       The Policy's declarations page indicates Plaintiff also had

uninsured motorist coverage under Part III.            (Doc. 7-2, at 3.)

The provision provides:

       If you pay the premium for this coverage, we will pay
       for damages that an insured person is legally entitled
       to recover from the owner or operator of an uninsured
       motor vehicle because of bodily        injury    or    property
       damage:
       1. sustained by an insured person;
       2. caused by an accident; and


                                    22
   Case 1:23-cv-00085-JRH-BKE Document 18 Filed 03/22/24 Page 23 of 26




     3. arising out of the ownership, maintenance or use of
     an uninsured motor vehicle.

(Id. at 17.)   But Part III provides an ''uninsured motor vehicle''

does not include a vehicle "owned by you, a relative, or a rated

resident."   (Id.)

     Progressive argues the Court should not consider whether Part

III applies because Plaintiff's complaint does not allege she ever

made a claim under Part III or that Progressive breached the policy

by not providing her coverage under Part III.          (Doc. 10, at 6.)

However, Plaintiff's complaint alleges "Plaintiff retained counsel

in 2020 and attempted to resolve her claim with [Progressive]

either under the liability policy or the uninsured policy on her

vehicle."    (Doc. 1-1, at 3 (emphasis added).)            The complaint

further alleges that the Policy "contains clauses that exclude

Plaintiff from making a claim for liability or uninsured motorist

insurance coverage on an owned vehicle" and that one or both

clauses   violate    Georgia   public    policy.   (Id.)     While   these

allegations do not clearly set out that Plaintiff intends to bring

a claim for breach of contract pursuant to Part III, out of an

abundance of caution, the Court considers whether Part III provided

Plaintiff coverage for the injuries sustained in the Accident.

     Because Part III applies to damages an "insured person is

legally entitled to recover," the relevant "insured person" in

Part III is Plaintiff, who is entitled to recover the default



                                    23
      Case 1:23-cv-00085-JRH-BKE Document 18 Filed 03/22/24 Page 24 of 26




judgment from lesha Nipper in the Underlying Lawsuit.                   Plaintiff

is listed as the named insured on the declarations page, so she is

an ^^insured person" under the Policy.           (Id. at 2, 9, 17.)          The

Court turns to whether the Policy's exclusion, which bars coverage

of a vehicle "owned by you, a relative, or a rated resident," is

applicable.      The Parties do not dispute that Plaintiff owned the

Vehicle.      (Doc. 1-1, at 3; Doc. 17, at 2.)              Plaintiff argues,

however, the fact that she owned the Vehicle should not bar her

claim under Part III because the multiple definitions of "insured

person" throughout the Policy and the definition of "covered auto"

somehow make the above portion of the Policy ambiguous.                  (Doc. 8,

at 6.)     The Court disagrees.

       "Under Georgia law, insurance companies are generally free to

set the terms of their policies as they see fit so long as they do

not    violate   the   law   or   judicially   cognizable     public     policy."

Trinity Outdoor, LLC v. Cent. Mut. Ins., 679 S.E.2d 10, 12 (Ga.

2009) (citation omitted).         As a result, an insurance company "may

agree to insure against certain risks while declining to insure

against     others."     Id.   (citation    omitted).       When   an   insurance

policy's     "language    unambiguously     governs   the    factual     scenario

before the court, the court's job is simply to apply the terms of

the contract as written, regardless of whether doing so benefits

the carrier or the insured."         Id. (citation omitted).




                                       24
      Case 1:23-cv-00085-JRH-BKE Document 18 Filed 03/22/24 Page 25 of 26




        Here, Part III is unambiguous: a vehicle is not an ^^uninsured

motor vehicle" if it is ^^owned by you."               (Doc. 7-2, at 18.)      As

discussed above. Plaintiff meets the definition of ^^you" because

she is listed as a named insured on the declarations page.                   (Id.

at 2, 9.)      The Vehicle is thus not an ^^uninsured motor vehicle,"

and Part III does not cover Plaintiff's injuries as a result of

the    Accident.      Because   neither     Part   I   nor    Part   III   provide

coverage.     Progressive    has not breached the            Policy and summary

judgment is GRANTED as to Plaintiff's breach of contract claim.

        2. Bad Faith Failure to Settle


        Plaintiff also asserts a bad faith failure to settle claim

against Progressive.        (Doc. 1-1, at 6.)      There can be no bad faith

for failure to settle a claim where there is no coverage under the

Policy.     Green v. Allstate Fire & Cas. Ins., No. 2:15-CV-205, 2018

WL 2057356, at*5 (N.D. Ga. Mar. 27, 2018) (''Because Plaintiffs'

loss is not covered by their insurance policy . . . they cannot

recover damages for [the insurance company]'s investigation of

their claim and subsequent refusal to pay.").                 Because the Court

already found there was no coverage for Plaintiff s claims under

the Policy, her bad faith claim fails as a matter of law.                      See

Landrum v. Allstate Ins., No. 5:18-cv-00458, 2019 WL 5068656, at

*4 n.9 (M.D. Ga. Oct. 9, 2019) (granting summary judgment for the

insurance company on the plaintiff s breach of contract claim and

dismissing the plaintiff s bad faith claim because "there is no


                                       25
   Case 1:23-cv-00085-JRH-BKE Document 18 Filed 03/22/24 Page 26 of 26



coverage as a matter of law"),           Accordingly, summary judgment is

GRANTED as to this claim.


        3. Punitive Damages and Attorney^ s Fees

        Plaintiff also seeks        punitive damages and         attorney's fees

against Defendants.      (Doc. 1-1, at 6-7.)             "The derivative claims

of attorneys fees and punitive damages will not lie in the absence

of a finding of compensatory damages on an underlying claim."                     ABH

Corp.    V.    Montgomery,    849   S.E.2d   30,    33    (Ga.   Ct.    App.     2020)

(citation omitted).      Because the Court granted summary judgment on

Plaintiff's substantive claims,          summary judgment is GRANTED as to

Plaintiff's claims for punitive damages and attorney's fees.                       See

Bolton V. Golden Bus., 823 S.E.2d 371, 373 (Ga. Ct. App. 2019).



                                IV. CONCLUSION


        Based on the foregoing, IT IS HEREBY ORDERED that Defendants'

motion to dismiss, converted into a motion for summary judgment

(Doc. 7), is GRANTED.         The Clerk is DIRECTED to ENTER JUDGMENT in

favor     of    Defendants,    TERMINATE      any    remaining         motions     and

deadlines, and CLOSE this case.

        ORDER ENTERED at Augusta, Georgia, this                    day of March,

2024.




                                                     tKL HALL, CHIEF JUDGE
                                                     STATES      DISTRICT   COURT
                                             SOUTHERN     DISTRICT OF GEORGIA



                                        26
